                                                                                                          F-r cD
         Case 2:17-cr-00126-RAJ-LRL Document 81 Filed 05/02/18 Page 1 of 1 PageID#
                                                                             '•K   993
Eastern District Of Virginia-U.S. District Court
                                IN THE UNITED STATES DISTRICT COURT FOR
                                                                                                       MAY • 2 m
                                     THE EASTERN DISTRICT OF VIRGINIA
                                             Norfolk/Newport News Division
                                                                                             c:tE6iKKi-U^SPDiStP,f(KJ
                                                                                                      K|sr?FF)SKKV)5(A
UNITED STATES OF AMERICA



                                                                                      2'. O      Cf
V.                                                                  Case Number:

              L    (ff .

                                             WAIVER OF TRIAL BY JURY
          i>K^
         I,        , the above named defendant, who is accused of violating Title ,    United States Code Section ,
                                \^cc<i'<xn
       , beingrepresented by         , having heretofore been furnished a copy of the Indictment against me, having
been fully advised by the Court or my attorney of the nature of the charge(s) against me, and of the possible
sentence or sentences resulting from such charge(s), and having further been fully advised by the Court or my
attorney of my right to a trial by a jury, do hereby knowingly, freely, and voluntarily waive trial by jury on said
charge(s) and request and consent to trial by the court without a jury.


                   r
Date                                                                    Defendant



                                             CERTIFICATE OF ATTORNEY

         I hereby certify that I have discussed and fully advised the above named defendant as to his rights as
aforesaid.



              ir

Date                                                                    Attorney for Defense


         The United States of America hereby consents that the above case be tried without a jury and hereby
unites in such waiver.



Date                                                            Attorney for United States
         Waiver of trial by jury in this case is hereby approved.


Date                                                            United States Magistrate Judge
